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                           UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF NEW YORK

                                                            X
In re:                                                             Chapter 13
                                                                   Case No.: 16-35881 (cgm)

         Rose M. O’Reilly,

                                              Debtors.
                                                            X

           ORDER TERMINATING LOSS MITIGATION AND FINAL REPORT
Name of Creditor: Seterus Inc.
Property Address: 45 Arbutus Rd., Putnam Valley, NY 10579
Last Four Digits of Account Number of Loan: 8772
File Date of Loss Mitigation request: 8/01/2016
Date of Entry of Loss Mitigation Order: 8/22/2016
Date of Entry of Order Approving Settlement (if any): 6/06/2017.
Other Requests for Loss Mitigation in this Case: ____ Yes            X No
         The use of the Court’s Loss Mitigation Program Procedures has resulted in the following:

    X Loan modification
      Short sale                                 No agreement has been reached
      Surrender of property
      Other: _____________________________________________________

        ORDERED, that Loss Mitigation is terminated with respect to the Loan identified above
by the last four digits of the account number.




                                                             /s/ Cecelia G. Morris
                                                             _______________________
Dated: June 5, 2018
                                                             Hon. Cecelia G. Morris
      Poughkeepsie, New York
                                                             Chief U.S. Bankruptcy Judge
